Case 1:25-cv-00168-GBW          Document 27       Filed 02/19/25    Page 1 of 3 PageID #: 324




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,
                                                    C.A. No. 1:25-cv-00168-UNA
                               Plaintiff,

                   -against-

KPLER HOLDING SA,

                               Defendant.


     MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF TODD S. GILMAN

         Pursuant to D. Del. Local Rule 83.5 and the attached certification, counsel moves the

admission pro hac vice of Todd S. Gilman of Wachtell, Lipton, Rosen & Katz to represent

Defendant Kpler Holding SA in this matter.


                                             RICHARDS, LAYTON & FINGER P.A.

                                             By: /s/ Jason J. Rawnsley
                                             Rudolf Koch (#4947)
                                             Jason J. Rawnsley (#5379)
                                             Matthew D. Perri (#6066)
                                             920 N. King Street
                                             Wilmington, DE 19801
                                             (302) 651-7700
                                             koch@rlf.com
                                             rawnsley@rlf.com
                                             perri@rlf.com

Dated: February 19, 2025                     Attorneys for Defendant Kpler Holding SA




RLF1 32435198v.1
Case 1:25-cv-00168-GBW        Document 27     Filed 02/19/25   Page 2 of 3 PageID #: 325




                               ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Todd S.

Gilman is GRANTED.

 DATE: _______________________               ______________________________________
                                             UNITED STATES DISTRICT JUDGE




RLF1 32435198v.1
Case 1:25-cv-00168-GBW          Document 27       Filed 02/19/25      Page 3 of 3 PageID #: 326




             CERTIFICATION OF COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of New York, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. In accordance with the Standing Order for

District Court Fund effective January 1, 2024, I further certify that the fee of $50.00 will be

submitted to the Clerk’s Office upon the filing of this motion.

                                                  By: /s/ Todd S. Gilman
                                                  Todd S. Gilman
                                                  Wachtell, Lipton, Rosen &Katz
                                                  51 West 52nd Street
                                                  New York, NY 10019
                                                  (212) 403-1679
 Dated: February 19, 2025                         TSGilman@WLRK.com




RLF1 32435198v.1
